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                                                               IN THE UNITED STATES DISTRICT COURT

                                                              FOR THE EASTERN DISTRICT OF MICHIGAN



                                     DANIEL HOOK,

                                                             Plaintiff,                            Case No. 2:15-cv-10152

                                     vs.                                                           Hon.
   (313) 961-4400




                                     UNITED STATES OF AMERICA,

                                                             Defendant.
                                     BRIAN J. McKEEN (34123)
   Detroit, MI 48226




                                     J. KELLY CARLEY (P38892)
                                     McKEEN & ASSOCIATES, P.C.
                                     Attorneys for Plaintiff
                                     645 Griswold Street, Suite 4200
                                     Detroit, Michigan 48226
   645 Griswold Street, Suite 4200




                                     (313) 961-4400

                                                                                COMPLAINT

                                                                          PRELIMINARY STATEMENT

                                           1. Plaintiff, DANIEL HOOK, was a resident of the City of Trenton, County of Wayne, State
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                                     of Michigan, at the time of the malpractice alleged in this matter.

                                           2. Plaintiff brings this action against the Defendant, United States of America under the

                                     Federal Tort Claims Act.

                                           3. DR. JAMIE SUTTON, is a Michigan licensed physician, board-certified in internal

                                     medicine, who was practicing emergency medicine in the City of Ann Arbor, County of

                                     Washtenaw, State of Michigan, at the time of the malpractice alleged in this matter.

                                           4. At all times pertinent to the allegations in this Complaint, the Department of Veteran

                                     Affairs (hereafter V.A.) was an executive agency of the United States government.
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                                        5. At all times pertinent to the allegation in this Complaint, Dr. Jamie Sutton was employed

                                     by the V.A. and United States of America.



                                                                       JURISDICTION AND VENUE

                                        6. This Court has jurisdiction over the subject matter of this Complaint under 28 U.S.C. §

                                     1331 and 1346(b).

                                        7. On or about June 26, 2013, Plaintiff submitted an Administrative Tort Claim to Claims
   (313) 961-4400




                                     Office CELB/GLD/OGC and the V.A. Plaintiff’s claim was denied on July 16, 2014, therefore,

                                     Plaintiff has exhausted all available administrative remedies.
   Detroit, MI 48226




                                        8. Venue is properly with this District under U.S.C. § 1402(b) as the acts that are the subject

                                     of this Complaint occurred in Washtenaw County at the time of the malpractice and at that time

                                     the Plaintiff resided in Wayne County.
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                                                                                 PARTIES

                                        9. At all times relevant hereto the Plaintiff, Daniel Hook, was a resident of the City of

                                     Trenton, County of Wayne, State of Michigan.
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                                        10. At all times relevant hereto, Dr. Jamie Sutton, was a physician employed by the V.A., an

                                     executive agency of the United States of America.

                                        11. At all times relevant hereto, Dr. Sutton was acting within the scope of his employment

                                     with the V.A., as such, the Defendant, the United State of America is the appropriate Defendant.



                                                                      FACTUAL ALLEGATIONS

                                        12. The Plaintiff realleges paragraphs 1 through 11 as if set forth fully herein.

                                        13. On July 17, 2011, the Plaintiff, Mr. Hook, then 79, presented to the emergency room at

                                     the VA Hospital in Ann Arbor with complaints of abdominal pain and nausea.



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                                         14. Mr. Hook came under the care of Jamie Sutton M.D., who found that Mr. Hook had a

                                     distended abdomen.

                                         15. Blood work indicated an elevated WBC with a shift to the left.

                                         16. An abdominal x-ray showed multiple loops of dilated small bowel resulting in air-fluid

                                     levels which were consistent with a small bowel obstruction. It was further noted that the x-ray

                                     was ABNORMAL and ATTENTION was NEEDED.

                                         17. Mr. Hook was given an enema and discharged with a diagnosis of constipation.
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                                         18. The next day, July 18, 2011, Mr. Hook presented to the Henry Ford Hospital Wyandotte

                                     emergency room with continued complaints of abdominal pain.
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                                         19. Mr. Hook vomited and aspirated black, bilious vomitus in the emergency room which

                                     caused aspiration pneumonia and ultimately septic shock.

                                         20. Mr. Hook was diagnosed with a small bowel obstruction.
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                                         21. Mr. Hook’s condition continued to deteriorate and he could not be weaned off the

                                     ventilator therefore on July 30, 2011 he was transferred to Henry Ford Hospital Detroit.

                                         22. While at HFH Detroit Mr. Hook continued treatment for his pneumonia and a DVT that

                                     he developed. Ultimately was discharged on August 16, 2011.
McKeen & Associates, P.C.




                                         23. As result of the failure to diagnose and treat Mr. Hook's small bowel obstruction on

                                     January 17, 2011 at the Ann Arbor VA Hospital he suffered severe damages including, but not

                                     limited to, aspiration pneumonia, which permanently damaged his lungs; septic shock; bowel

                                     damage; unnecessary hospitalizations; DVT; decubitus ulcers; and an overall diminishment in

                                     his health.

                                                     FEDERAL TORT CLAIM ACT – MEDICAL NEGLIGENCE

                                         24. Plaintiff realleges paragraphs 1 through 23 as if set forth fully herein.




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                                        25. At all times pertinent hereto, Dr. Jamie Sutton, owed a duty to the Plaintiff, Daniel Hook,

                                     to render medical treatment in a reasonable and prudent manner consistent with the applicable

                                     standard of care for internists practicing emergency medicine.

                                        26. Notwithstanding his suspected duty, Dr. Jamie Sutton, was professionally negligent and

                                     breached his duties to the Plaintiff, Daniel Hook, in the following ways:

                                                a. Failing to recognize the significance of Mr. Hook's small bowel
                                                   obstruction as identified on abdominal x-ray;
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                                                b. Failing to recognize the significance of the air–fluid levels as
                                                   identified abdominal x-ray;
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                                                c. Failing to recognize the significance of Mr. Hook's elevated WBC
                                                   at 15.8 (n. 4 – 11);

                                                d. Failing to recognize the significance of Mr. Hook's elevated
                                                   neutrophil percentage at 87.9% (n. 45 – 75%) or leftward shift;
   645 Griswold Street, Suite 4200




                                                e. Failing to diagnose Mr. Hook's small bowel obstruction;

                                                f. Failing to diagnose Mr. Hook's disease and/or acute pathology;

                                                g. Failing to place a nasogastric tube;

                                                h. Failing to consult the surgical service and/or gastroenterology
McKeen & Associates, P.C.




                                                   service;

                                                i. Failing to admit Mr. Hook's for further observation, testing and
                                                   treatment.

                                        27. As a direct and proximate result of the above breaches in the standard of care by the

                                     Defendant, Dr. Jamie Sutton, the Plaintiff, Daniel Hook, suffered the following damages

                                     including, but not limited to, aspiration pneumonia, permanent damage to his lungs, septic shock,

                                     bowel damage, unnecessary hospitalizations and expense, DVTs, decubitus ulcers, physical and

                                     emotional pain, mental suffering, unnecessary medical expenses, and a general diminishment of

                                     his overall health.




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                                                                                DAMAGES

                                        28. Plaintiff realleges paragraphs 1 through 27 as if set forth fully herein.

                                        29. As a direct and proximate result of the professional negligence and medical malpractice

                                     described above, the Plaintiff, Daniel Hook, has suffered serious and permanent injury; extreme

                                     pain; mental anguish; anxiety and depression; disfigurement; loss of substantial sums of money

                                     for both past and future hospital, medical, clinic, and prescription costs; permanent lung damage
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                                     and a general diminishment of his overall health.

                                            WHEREFORE, the Plaintiff, DANIEL HOOK, respectfully requests compensatory

                                     damages, reasonable attorney fees and costs, and such other relief that is just and appropriate.
   Detroit, MI 48226




                                                                                           Respectfully Submitted:
                                                                                           McKEEN & ASSOCIATES, P.C.
   645 Griswold Street, Suite 4200




                                                                                           __/s/ J. Kelly Carley___________
                                                                                           BRIAN J. MCKEEN (P34123)
                                                                                           J. KELLY CARLEY (P38892)
                                                                                           Attorneys for Plaintiff
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                                     DATED: January 14, 2015




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